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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

 v.                                                            No. 1:22-cr-11-RJL

 ZACHARY JOHNSON


                    UNITED STATES’ RESPONSE TO DEFENDANT’S
                    MOTION TO MODIFY CONDITIONS OF RELEASE

       As the defendant correctly states in his pending motion to modify his conditions of release,

ECF 85, the United States has no objection to (1) converting his current condition of location

monitoring via GPS ankle bracelet to a curfew monitored by periodic calls to a landline he must

answer during the curfew period; and/or (2) allowing the defendant to travel outside of the Tampa

Division, but still within the Middle District of Florida (MDFL), to work, so long as he first secures

approval from MDFL Pre-Trial Services, provides any documentation they request, and follows

whatever procedures they require.


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